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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

BERNHARDT TIEDE, II;                              §
TEXAS PRISONS COMMUNITY                           §
ADVOCATES; BUILD UP, INC. A/K/A                   §
JUSTICE IMPACTED WOMEN’S                          §
ALLIANCE; TEXAS CITIZENS UNITED                   §
FOR REHABILITATION OF ERRANTS;                    §
and COALITION FOR TEXANS                          §
WITH DISABILITIES,                                §
      Plaintiffs,                                 §         Civil Action No.:
                                                  §         1:23-CV-01004-RP
v.                                                §
                                                  §
                                                  §
BRYAN COLLIER, in his official capacity           §
as Executive Director of Texas Department         §
of Criminal Justice,                              §
       Defendant.                                 §


                    DEFENDANT’S RESPONSE IN OPPOSITION TO
                  INTERVENORS MOTION TO INTERVENE [ECF 127]


       COMES NOW, Defendant Bryan Collier, who hereby files this response in opposition the

motion to intervene filed by twelve individual TDCJ inmates. ECF 127. None of the would-be-

intervenors have met the requirements to intervene, and regardless, their interests are already

represented by the existing associational plaintiffs who seek statewide relief. This Court should

decline to exercise its discretion to permit intervention which would otherwise result in duplicative

litigation, prejudice the existing parties by delaying the proceedings, and waste judicial resources.

                       I. Statement of the Case and Procedural Posture

       This lawsuit is being brought by one individual plaintiff – Bernhardt Tiede, II – and four

associations, seeking relief from what they allege are unconstitutional conditions arising from

extreme heat in Texas prisons. Together, the associational plaintiffs purport to represent all TDCJ

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inmates currently incarcerated, among others. ECF 57. Associational plaintiffs seek agency wide

relief through the implementation of air condition at all TDCJ units across the state of Texas. The

hearing on Plaintiffs’ request for injunctive relief began on July 30, 2024, and concluded August

2, 2024. Parties are now working on post hearing briefing and drafting findings of fact and

conclusions of law to present to the Court.

       Twelve inmates incarcerated at TDCJ’s Coffield Unit in Tennessee Colony, Texas seek to

intervene in this matter based on conclusory and unsupported injuries, all premised on the same

subject matter of this suit – heat. In addition to the would-be-intervenors odd request for the

appointment of a special master, they ostensibly seek the same relief which the associational

plaintiffs are already requesting from this court- reprieve from the heat within TDCJ prison units.

                                     II. Standards of Review

       Under Rule 24, persons with an interest in ongoing litigation may intervene as a matter of

right or permissively pursuant to a court’s discretion. Fed. R. Civ. P. 24. Regarding the former –

intervention of right – a court must permit anyone to intervene who 1) is given an unconditional

right to intervene by a federal statue, or 2) claims an interest relating to the transaction that is the

subject of the action, and is so situated that disposing of the action may as a practical matter impair

or impede the movant’s ability to protect its interest. Fed. R. Civ. P. 24(a)(1)-(2). Regarding the

latter – permissive intervention – a court may permit intervention to anyone who 1) is given a

conditional right to intervene by a federal statute, or 2) has a claim or defense that shares with the

main action a common question of law or fact. Fed. R. Civ. P. 24(b)(1)(b). In exercising its

discretion, the court must consider whether the intervention will unduly delay or prejudice the

adjudication of the original parties' rights. Fed. R. Civ. P. 24.




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                                 III. Argument and Authorities

       The analysis of all the movants’ desired intervention collapses into three questions –

timeliness, and the two secondary considerations of 24(a) and 24(b), because the intervenors have

neither an unconditional nor conditional right to intervention under 24(a)(1) and 24(b)(1)(a) – nor

have they alleged any.

       1.      Potential Intervenors Motions are Untimely.

       The would-be-intervenors motions to intervene is untimely. Four factors in their totality

are considered when determining whether a motion to intervene is made timely: (1) the length of

time during which the would-be intervenor actually knew or reasonably should have known of its

interest in the case before it sought to intervene; (2) the prejudice that existing parties to the

litigation may suffer as a result of the would-be intervenor's failure to apply for intervention as

soon as it knew or reasonably should have known of its interest in the case; (3) the prejudice that

the would-be intervenor may suffer if intervention is denied; and (4) whether unusual

circumstances militate for or against a determination that the application is timely. Heaton v.

Monogram Credit Card Bank of Georgia, 297 F.3d 416, 423 (5th Cir. 2002) (citing Edwards v.

City of Houston, 78 F.3d 983, 1000 (5th Cir. 1996)). There are no absolute measures of timeliness;

it is determined from all the circumstances. Id.

       The motion states conclusively without any support that each intervenor, because of their

medical conditions and resulting enhanced sensitivity to heat, “have either suffered actual injury”

or are “in imminent danger of suffering” an injury at the Coffield Unit. ECF 127. None of the

intervenors actually support said propositions with any assertions of medical diagnoses, why any

alleged diagnoses make them heat sensitive, documents reflecting the temperature in Coffield nor

any other support of any kind showing the existing heat mitigation measures are insufficient.



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Instead, intervenors rely solely on prior TDCJ heat litigation and heat related issues in TDCJ as

far back as twenty-six years ago to six years ago.

       Intervenors do not state either way whether the previous litigation or heat related issues

they reference impacted them nor their unit specifically. Intervenors motions provide insufficient

information for the Court to know with any degree of certainty when the intervenors actually knew

or reasonably should have known of its interest in this particular case. To the contrary, the motions

suggest the twelve inmates seeking to intervene may have at least been aware of previous heat

litigation and heat related matters which they could have and should have joined. But again, no

intervenor has alleged with any specificity when their alleged injuries arose.

       Second, adding twelve individual plaintiffs would be duplicitous, resulting in unnecessary

time and expense for both the Defendant and Plaintiffs. The existing parties would be prejudiced

by having to conduct additional unnecessary discovery. Defendant would need additional time to

gather information and documentation to defend against the additional claims- all of which is

unnecessary when associational plaintiffs purport to represent the entire inmate population and

already seek statewide relief related to the same issue which intervenors claims to be injured by;

and if existing plaintiffs succeed would be relieved from. This point also speaks to the third factor

of timeliness – prejudice to the intervenors.

       All twelve intervenors would not be harmed by being denied intervention in this suit. This

Court has already ruled the association plaintiffs have standing and as they have argued, the

associations purport to represent the entire TDCJ inmate population with respect to the risk heat –

not just medically sensitive inmates, but all inmates and they seek statewide relief which would

include the Coffield Unit. ECF 57. Here, potential intervenors claim they have suffered or will

suffer injury because of their sensitivity to heat from medical conditions – the exact type of harm



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the associations are seeking relief for statewide. Finally, intervenors are free to file their own

lawsuits individually should they so desire. Thus, not granting intervention in this case does not

prejudice the intervenors, but granting would prejudice the current parties for the reasons stated

above. The motions are untimely and should be denied.

       2.       Would-be-intervenors have no basis for intervention as a matter of right.

       Intervention as of right under Rule 24(a)(2) is based on four requirements, the first being

timeliness as argued against above. The other three requirements include: (2) the applicant must

claim an interest in the subject matter of the action; (3) the applicant must show that disposition of

the action may impair or impede the applicant's ability to protect that interest; and (4) the

applicant's interest must not be adequately represented by existing parties to the litigation.” United

States v. Franklin Parish Sch. Bd., 47 F. 3d 755, 756 (5th Cir.1995). Here, would-be-intervenors

application for intervention fails to satisfy all four requirements of Rule 24(a)(2).

              i.       The intervenors interest, to the extent they exist, are already
                       represented.

       Assuming the intervenors have standing and have satisfied the exhaustion requirements of

the Prison Litigation Reform Act, their interests are already represented. The Organizational

Plaintiffs purport to represent all inmates including the intervenors, and are seeking statewide relief

which would only stand to benefit the intervenors.

             ii.       The intervenors would only benefit from this suit, even without their
                       participation.

       While the intervenors allegations could plausibly state an interest relating to the issues in

this case if construed broadly – the allege substantial risk of serious harm from heat inside Texas’s

prisons – they would not be impaired or impeded in their ability to protect their interest by being

denied intervention. To the contrary, the twelve individuals are free to pursue their own lawsuits



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which would then grant them the opportunity to tailor any awarded relief to their own

individualized medical needs. Thus, by not being included in this suit, they still may obtain relief

as a result from it, and then continue in their own suits to get specific relief.

             iii.       Existing associational plaintiffs adequately protect and represent
                        intervenors interest.

        Again, assuming the intervenors have sufficient standing and an interest in this litigation,

the associational plaintiffs adequately represent their interest. Further, it is the intervenors burden

to show that the associational plaintiffs’ litigation of this matter is inadequate to protect their

interest. Heaton v. Monogram Credit Card Bank of Georgia, 297 F.3d 416, 425 (5th Cir. 2002).

Would-be-intervenors have made no such argument.

        3.      Potential Intervenors cannot meet their burden to intervene permissibly.

        Permissive intervention is “committed to the discretion of the court.” United States ex rel.

Hernandez v. Team Fin., L.L.C., 80 F.4th 571, 577 (5th Cir. 2023) (quoting Cameron v. EMW

Women's Surgical Ctr., P.S.C., 595 U.S. 267, 277, 142 S. Ct. 1002, 1010, 212 L. Ed. 2d 114

(2022)). Permissive intervention is allowed when intervenors have a claim that shares with the

main action a common question of law and fact. Fed. R. Civ. P. 24(b)(1)(B). Defendant’s response

to the issue on the intervenors common interest with this litigation is detailed above.

        Overall, the existing plaintiffs purport to adequately represent the interests of the

intervenors, the Defendant would be prejudiced in having to litigate duplicative claims against an

additional twelve plaintiffs at this late stage in the litigation, and the intervenors have not

sufficiently alleged an injury, nor shown they are not represented adequately already. For all these

reasons, the Court should decline to exercise its discretion to permit intervention.




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       4.      Intervenors lack standing and/or have failed to demonstrate they have met
               the requirements of the PLRA.

       The intervenors seek to intervene as named class members. ECF 127. This case is not a

class action and each of the twelve individuals need to demonstrate they have standing and

appropriately exhausted their statutorily required administrative remedies. All twelve intervenors

conclusively state they have been or will be injured due to the Coffield Unit being over 100 degrees

at some unspecified time in the past with the potential for such heat to reoccur at some unspecified

time in the future, assuming the inmates are still at that unit. ECF 127. That is not sufficient to

establish standing. None of the intervenors alleged they were individually housed at the Coffield

Unit on the day of the alleged heat incident, whether they were individually harmed directly from

the heat and if so, how so, etc. Instead, intervenors indicate generally the Coffield Unit was hot in

the past. The intervenors have failed to properly allege any particularized injuries in fact and a

causal connection between the alleged injuries and the issue complained of. See generally Lujan

v. Defs. of Wildlife, 504 U.S. 555, 560–61 (1992) (Plaintiffs must establish an injury in fact which

is (a) concrete and particularized and (b) actual or imminent, not conjectural or hypothetical.

Second, there must be a causal connection between the injury and the conduct complained of.)

       Regarding exhaustion, the intervenors cannot escape the exhaustion requirement by

jumping into this case. No movant has plead, suggested, nor demonstrated that they have

appropriately filed grievances related to their alleged injuries and medical conditions. 42 U.S.C. §

1997e(a) (No action shall be brought with respect to prison conditions under [42 U.S.C. § 1983],

or any other Federal law, by a prisoner confined in any jail, prison, or other correctional facility

until such administrative remedies as are available are exhausted.); Huskey v. Jones, 45 F.4th 827,

831 (5th Cir. 2022) (quoting the Supreme Court in Ross v. Blake, 578 U.S. 632, 642 (2016), noting

that “an inmate ... must exhaust available remedies....) (cleaned up).

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                                         IV. Conclusion

       For the reasons described herein, Defendant respectfully requests that this Court deny the

motions to intervene.

      Respectfully submitted,

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                           NOTICE OF ELECTRONIC FILING

I, LAUREN MCGEE, certify that on August 7, 2024, I have electronically submitted for filing a
true and correct copy of this pleading.

                                                /s/ Lauren McGee
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                                CERTIFICATE OF SERVICE

       I, LAUREN MCGEE, Assistant Attorney General of Texas, do hereby certify that a true
and correct copy of the above and foregoing has been electronically served to all counsel of record
and parties, within one business day of August 7, 2024, addressed to the following:

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